
USCA1 Opinion

	










          July 5, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-2185

                                  CARMEN H. RIVERA,

                                Plaintiff, Appellant,

                                          v.

                       SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Carmen Consuelo Cerezo, U.S. District Judge]
                                                ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Paul Ramos Morales on brief for appellant.
            __________________
            Guillermo  Gil, United  States Attorney, Rosa  E. Rodriguez-Velez,
            ______________                           ________________________
        Acting  Chief  Civil  Division,  and  Robert  M.  Peckrill,  Assistant
                                              ____________________
        Regional  Counsel,  Social  Security  Administration,  on   brief  for
        appellee.


                                 ____________________


                                 ____________________




















                      Per  Curiam.    Claimant  Carmen  Rivera  filed  an
                      ___________

            application for Social Security disability benefits  on March

            28, 1991, alleging  an onset date of November 28,  1988.  The

            application was denied on August 8, 1991 and claimant did not

            seek reconsideration.   Instead, she filed  a new application

            on January 21, 1993, alleging the same onset date and listing

            as  impairments  a herniated  disc  and  nerves.   Claimant's

            insured   status  expired   on   December  31,   1993.     An

            administrative law judge (ALJ) held a hearing in October 1993

            at which claimant and a vocational expert (VE) testified.

                      The ALJ first  determined not to  reopen claimant's

            initial application with the result  that he did not consider

            evidence from the time period  prior to August 8, 1991.   The

            ALJ  then   decided  that   claimant  suffered   from  severe

            uncontrolled arterial  hypertension, a small  herniated disc,

            costochondritis,   and  an   affective   disorder.      These

            conditions, the ALJ opined, prevented her from performing her

            past  work  as  a  meat  packager,  a  job  requiring  medium

            exertion.    Further,  the   ALJ  stated  that  claimant  was

            prohibited  from performing  complex  or  detailed tasks  and

            engaging  in work  in which  she could  not change  position.

            Using the  grid as a framework  and the testimony of  the VE,

            the ALJ  nonetheless concluded that there  were other, light-

            duty jobs which claimant could perform.  The  Appeals Council





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            denied claimant's  request for review and  the district court

            affirmed this decision.



                      Claimant argues on  appeal that the  ALJ's decision

            not to  reopen her first application  for disability benefits

            is reviewable.  "Absent a colorable constitutional claim  . .

            . a district court  does not have jurisdiction to  review the

            Secretary's discretionary decision  not to reopen an  earlier

            adjudication."    Torres v.  Secretary  of  Health and  Human
                              ______     ________________________________

            Services, 845 F.2d  1136, 1138 (1st  Cir. 1988) (per  curiam)
            ________

            (citing  cases).   To  come within  this exception,  claimant

            asserts that the determination not to reopen violated her due

            process  rights because the ALJ  never had held  a hearing on

            her first request  for benefits.  However,  claimant does not

            assert  that she was denied the opportunity for a hearing and

            it does not appear that she requested one.  We  have held, in

            similar circumstances,  that such  a claim is  not colorable.

            See Matos v. Secretary of HEW, 581 F.2d 282, 284-86 (1st Cir.
            ___ _____    ________________

            1978).  Thus, we  consider, as did the ALJ, only the evidence

            for  the period  after August  8,  1991 through  December 31,

            1993.

                      1.    Back Condition.   Although  claimant received
                            ______________

            treatment for  her back  at the  State Insurance  Fund during

            1988 and  1989, there are no records of any treatment for the

            period  1990  through 1993.    The  other  evidence  for  the



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            relevant   time   --  consultative   examinations,   two  RFC

            assessments, and a report from claimant's  treating physician

            -- is conflicting.

                      For example, Dr.  Roberto Leon Perez,  an internist

            and  rheumatologist, performed a  consultative examination in

            July 1991.  He reported that claimant could walk on her toes,

            but  that  her  flexion/extension was  somewhat  limited  (70

            degrees).    An  x-ray  showed  (1)  narrowing of  the  L4-L5

            intervertebral   space,   (2)    narrowing   of   the   L5-S1

            intervertebral  space  associated with  posterior spondylosis

            (fusion of  a vertebral joint), (3)  facet joint degenerative

            disease at L5-S1, and  (4) reversal of normal lordosis.   The

            diagnosis was herniated disc by history.

                      The other consultative examination was performed in

            March 1993 by Dr.  Phillip Bonneaux.  At this  time, claimant

            had  normal  muscle tone  and strength.    Her gait  also was

            normal and she had full  range of motion of her back.   There

            were moderate  spasms of the paravertebral muscles.  An x-ray

            showed  slight   scoliosis  and  minimal  spondylosis.    The

            diagnosis  was  moderate  paravertebral muscle  spasm.    Dr.

            Bonneaux concluded that claimant could sit, stand, walk, lift

            and carry without limitation.

                      The  two  non-examining  physicians  who  completed

            residual functional capacity (RFC) assessments in 1993 agreed

            that claimant retained the weight-lifting capacity consistent



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            with light work.   They also agreed that claimant  could sit,

            stand and walk for  up to six hours each per  day.  She could

            occasionally  climb,  stoop,  crouch  and  crawl,  and  could

            frequently kneel.

                      Although   claimant's   treating   physician,   Dr.

            Francisco Sanchez, gave a significantly more restrictive view

            of claimant's RFC,  the ALJ  was not required  to credit  it.

            See  20 C.F.R.    404.1527(d)(2)  (if a  treating physician's
            ___

            opinion  is inconsistent with  the other substantial evidence

            in the record, controlling  weight need not be given  to that

            opinion).    Thus,   the  medical  findings   outlined  above

            sufficiently support the ALJ's conclusion that claimant could

            perform light work.  See Rodriguez v. Secretary of Health and
                                 ___ _________    _______________________

            Human Services, 647 F.2d 218,  222 (1st Cir. 1981) (conflicts
            ______________

            are for the Secretary to resolve).

                      2.  High Blood Pressure.  There are only two pieces
                          ___________________

            of evidence  relating to  claimant's high blood  pressure for

            the relevant period.   First, claimant's  treating physician,

            Dr. Sanchez, reported that  he began seeing claimant  in 1985

            for high  blood pressure.   During the  course of  treatment,

            claimant  experienced  dizzy  spells  and chest  pain.    Dr.

            Sanchez  opined  that   claimant's  prognosis  was   guarded.

            However, he did not  specify any limits on the  activities in

            which  claimant could  engage.   Second,  Dr. Bonneaux,  in a

            chest   pain  questionnaire,   stated  that  the   origin  of



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            claimant's  chest  pain  was  musculoskeletal.   Although  he

            opined  that claimant's blood  pressure should be controlled,

            he  also did  not  list  any  limitations  on  the  kinds  of

            activities  in which  she could engage.   Given  the complete

            dearth of evidence  that this condition limited  the kinds of

            work-related activities  in which claimant could  engage, the

            record  is  more than  adequate  to  support the  Secretary's

            decision.  See id.
                       ___ ___

                      3.   Emotional Condition.  As  with claimant's back
                           ___________________

            condition, the  evidence concerning the  effect of claimant's

            mental  impairment   is  conflicting.    Dr.   Luis  Toro,  a

            psychiatrist,  conducted  three  evaluations   of  claimant's

            mental  status.  In the first two reports, Dr. Toro described

            claimant as  being in contact with  reality, with appropriate

            affect.   She was oriented  and coherent, but  her capacities

            for  attention,  concentration, and  retention  were somewhat

            diminished.   Her  memory was  good  and she  exhibited  good

            insight.  Dr. Toro noted that claimant could handle funds and

            engage in  normal interpersonal relationships.   At the final

            examination,  claimant appeared  slightly depressed,  but was

            spontaneous,  logical,  and  oriented.    Her  concentration,

            attention,  retention  and  memory  were normal.    Dr.  Toro

            diagnosed   a  mild  dysthymic   disorder  and   stated  that

            claimant's prognosis was fair.





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                      A non-examining doctor,  in 1993, found  claimant's

            condition severe and diagnosed an affective disorder.  As for

            work-related activities, the only areas in which claimant was

            rated  as moderately  limited were  in dealing  with detailed

            instructions and accepting instruction from others.  Claimant

            was not significantly limited in all other areas.

                      In  contrast  to  the  above,  claimant's  treating

            physician opined that claimant had marked restrictions in the

            activities  of daily  living  and was  seriously impaired  in

            relating to others.  Dr. Sanchez also noted that claimant had

            hallucinations, autistic or regressive behavior, and suicidal

            ideation.  He  rated claimant as severely  impaired in almost

            all  areas  relating to  work.   Dr.  Sanchez  concluded that

            claimant could not work.

                      The  ALJ's  decision  essentially incorporates  the

            assessments of  the  non-examining physician  and  Dr.  Toro.

            Given the  conflict between these assessments  and the report

            of Dr. Sanchez, the ALJ did not err in not giving controlling

            weight  to  the latter's  opinion.   See  Rodriguez  Pagan v.
                                                 ___  ________________

            Secretary  of Health and Human  Services, 819 F.2d  1, 3 (1st
            ________________________________________

            Cir. 1987) (per curiam), cert. denied, 484 U.S. 1012 (1988).
                                     ____________

                      4.   Pain.  Claimant  alleges that the  ALJ did not
                           ____

            properly  credit her allegations  of totally  disabling pain.

            See Avery v. Secretary of Health and Human Services, 797 F.2d
            ___ _____    ______________________________________

            19  (1st  Cir. 1986).   Even  assuming  that the  record from



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            August 1991 through 1993 provided  objective medical evidence

            of a  back impairment  that reasonably could  be expected  to

            cause  pain,  the dearth  of  evidence  relating to  sensory,

            motor, or strength deficits conflicts with the level of  pain

            claimant asserts.   Further, claimant told  one examiner that

            she  performed   household  chores  and   claimant  generally

            reported a  fairly  active  social life.    Because  the  ALJ

            correctly   considered  the   Avery  factors,   his  decision
                                          _____

            regarding  claimant's   pain  is  supported   by  substantial

            evidence.

                      For  the  foregoing reasons,  the  judgment of  the

            district court is affirmed.
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